      Case 14-02169-jw    Doc 55    Filed 06/02/14 Entered 06/03/14 17:04:41     Desc Main
                                    Document      Page 1 of 2
                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 14-02169-jw



                 ORDER ON MOTION TO TERMINATE AUTOMATIC STAY



The relief set forth on the following pages, for a total of 2 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           06/02/2014




                                                   US Bankruptcy Judge
                                                   District of South Carolina



        Entered: 06/03/2014
Case 14-02169-jw        Doc 55     Filed 06/02/14 Entered 06/03/14 17:04:41             Desc Main
                                   Document      Page 2 of 2


                          UNITED STATES BANKRUPTCY COURT
                                 District of South Carolina



Case No. 14-2169

In re:

David Ashley Lehr                                         Laura Ann Lehr
107 SeeWee Court                                          107 SeeWee Court
Summerville, SC 29485                                     Summerville, SC 29485



                                 Order Confirming Termination of
                                         Automatic Stay




    1. Creditor Trent Enoch requests under 11 U.S.C. § 362(j) that the Court issue this Order
       confirming that the automatic stay in this Chapter 13 case has been automatically
       terminated under the provisions of 11 U.S.C. § 362 (c)(3)(A).

    2. Debtors had a prior Chapter 13 bankruptcy case, 12-3298, pending in the last one year
       before this present 14-2169 case was filed on 4-11-2014.

    3. The prior Chapter 13 case, 12-3298, was dismissed for non-payment on 5-13-2013.

    4. No order has been issued in this case 14-2169 extending the automatic stay.

    5. Accordingly, under the provisions of 11 U.S.C. § 362 (c)(3)(A) this court confirms that
       the automatic stay in this case terminated 30 days after the filing of this case. This case
       was filed on 4-11-2014. The automatic stay terminated 30 days later, on 5-11-2014.




   AND IT IS SO ORDERED.
